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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 21-108(3) (PAM/TNL)

 UNITED STATES OF AMERICA,                  )
                                            )
                      Plaintiff,            )
                                            )     GOVERNMENT’S POSITION WITH
        v.                                  )     RESPECT TO SENTENCING
                                            )
 J. ALEXANDER KUENG,                        )
                                            )
                      Defendant.            )


       The United States of America, by and through undersigned counsel, hereby submits

its position with respect to the sentencing of J. Alexander Kueng (the “Defendant”). The

Government recommends a sentence that reflects both the gravity of Defendant’s crime

and his relative culpability compared to his codefendants.         More specifically, the

Government requests a sentence that is less than codefendant Derek Chauvin’s sentence,

which has not yet been ordered but pursuant to a Rule 11(c)(1)(C) agreement will fall

between 240 to 300 months’ imprisonment, but significantly more than the Guidelines

range applicable to codefendant Thomas Lane, which is a range of 63 to 78 months’

imprisonment. Such a sentence is sufficient, but not greater than necessary, to comply with

the goals 18 U.S.C. § 3553(a).

       Several factors weigh heavily in favor of a lengthy prison sentence and against a

further, sizeable downward variance from the Guidelines range recommended above: first,

the gravity of the offense itself—Defendant’s abuse of state powers to cause the death of

George Floyd, a man in his custody and care; second, Defendant’s lack of acceptance of
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responsibility, including his (at-times obstructive and incredible) trial testimony; third, the

need to promote respect for the law and deter other police officers from standing by as their

fellow officers inflict abuses on unresisting arrestees; and fourth, the need for consistency

with respect to other cases in which officers have been convicted of failing to intervene to

protect an arrestee or inmate from abuse. 1

                               PROCEDURAL HISTORY

         Defendant Kueng went to trial on two counts of Deprivation of Rights Under Color

of Law, in violation of 18 U.S.C. § 242. Count Two charged Defendant with willfully

depriving Mr. Floyd of the right, secured by the United States Constitution, to be free from

the unreasonable force of a police officer, by failing to intervene to stop Chauvin’s use of

unreasonable force on Mr. Floyd. Count Three charged Defendant with willfully depriving

Mr. Floyd of the right, secured by the United States Constitution, to be free from a police

officer’s deliberate indifference to his serious medical needs, by seeing Mr. Floyd lying on

the ground in clear need of medical care and willfully failing to aid him. On February 24,

2022, following a trial that lasted more than a month, a jury returned guilty verdicts as to

both counts, and additionally found that Defendant’s offenses resulted in Mr. Floyd’s

death.

         The Presentence Investigation Report (“PSR”) calculated Defendant’s total offense

level to be 43 (reduced per the Guidelines from 46) and his criminal history category to be



1
  In the case most analogous to Defendant’s—a conviction by a jury for a failure to
intervene that resulted in death—a sentence of 360 months’ imprisonment was imposed.
See United States v. Pagan-Ferrer, 736 F.3d 573 (1st Cir. 2013).
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I, resulting in a Sentencing Guidelines range of life imprisonment. PSR ¶¶ 65, 68, 110.

The United States believes a 2-level upward adjustment for obstructing or impeding justice

should be applied based on Defendant’s perjury during trial testimony, but otherwise agrees

with the Guidelines calculation contained in the PSR. To remain consistent with the

treatment of codefendants, the United States also asks that the Court include a summary of

Defendant’s trial testimony in the PSR. See PSR at A.2-A.3. Otherwise, the United States

asks that the Court adopt the factual findings contained in the PSR as its own.

                                      ARGUMENT

       The Court must determine what constitutes an appropriate sentence as guided by the

factors of 18 U.S.C. § 3553(a). In doing so, the Court must first determine the applicable

Sentencing Guidelines. Although the Guidelines are advisory, the Court must “remain

cognizant of them throughout the sentencing process.” Gall v. United States, 552 U.S. 38,

50 n.6 (2007).

       In addition to considering the Guidelines, the Court must also analyze a number of

factors under Section 3553(a), including the history and characteristics of the defendant,

the nature and circumstances of the offense, the need for the sentence to reflect the

seriousness of the offense and promote just punishment for the offense, the need for

adequate deterrence, the need to protect the public from further crimes of the defendant,

and the need to avoid unwarranted sentencing disparities. Here, analysis of the Section

3553(a) factors makes clear that a sentence less than codefendant Chauvin’s sentence of

20 to 25 years, but significantly more than codefendant Lane’s Guidelines range of 63 to



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78 months, is sufficient but not greater than necessary to accomplish the purposes of

criminal sentencing as set forth in Section 3553.

    I.      Sentencing Guidelines Considerations.

         The PSR’s Guidelines calculations are driven by the Guidelines for Count 2, which

are calculated to have a base offense level of 38. The calculation begins with a reference

to U.S.S.G. § 2H1.1, which requires a cross reference to the closest underlying offense—

in this case, Second Degree Murder (U.S.S.G. § 2A1.2), which carries a base offense level

of 38. Second Degree Murder is the appropriate cross reference because: (1) Defendant

unlawfully killed Mr. Floyd, or aided and abetted the killing; and (2) Defendant acted with

malice aforethought. See United States v. Cottier, 908 F.3d 1141, 1146 (8th Cir. 2018). 2

The PSR then correctly applied a 6-level upward adjustment because Defendant committed

the offense under color of law (U.S.S.G. § 2H1.1(b)(1)) and a 2-level upward adjustment

because Mr. Floyd was physically restrained during the course of the offense (U.S.S.G.

§ 3A1.3).

         Defendant raises several objections to the PSR. First, he claims that instead of

applying a base offense level using the cross reference for Second Degree Murder, the




2
  Malice may be shown “by evidence of conduct which is reckless and wanton, and a gross
deviation from a reasonable standard of care, of such a nature that [the factfinder] is
warranted in inferring that defendant was aware of a serious risk of death or serious bodily
harm.” Id. (citing United States v. French, 719 F.3d 1002, 1008 (8th Cir. 2013) (additional
internal citation omitted)). “An aiding and abetting conviction requires the government to
prove a defendant took an affirmative act to further the underlying criminal offense, with
the intent of facilitating the offense.” Id. (quoting United States v. Borders, 829 F.3d 558,
565 (8th Cir. 2016) (additional internal citations omitted)).

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Court should use the same Guidelines cross reference—U.S.S.G. § 2A1.4 (Involuntary

Manslaughter)—for both Counts 2 and 3 given that they arose from a “single course of

conduct.” ECF No. 354 at 4. Defendant’s argument is legally unsound. Second, he argues

he should receive a 4- or 3-level downward adjustment as a minimal participant in the

offense. ECF No. 354 at 4. This argument is unsupported by the law and the facts of the

case. Third, he argues that the application of the color-of-law enhancement is “absurd”

and results in double counting because every violation of Section 242 would qualify for

the increase. ECF No. 354 at 5. Section 242 caselaw makes clear that Defendant is wrong.

The United States will discuss each of these arguments, along with its argument for an

obstruction enhancement, individually.

          A. The Base Offense Level Is 38.

       Defendant’s argument that the cross reference must be the same for both Count 2

and Count 3 ignores that Count 2 and Count 3 are two different crimes with two different

sets of elements. It is often the case that two or more criminal charges result from a “single

course of conduct” where the same Guidelines section is used; nonetheless, each crime

requires the satisfaction of different elements, and the application of the Guidelines results

in a different adjusted offense level. For example, a defendant can be charged with both

receipt and possession of child pornography from a single course of conduct committed in

a matter of minutes—the defendant downloads child pornography to a device and then

possesses that material on his device. The Guidelines section for both crimes is the same—

Section 2G2.2—but the base offense level is different for possession of child pornography



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(18) than it is for receipt of child pornography (22). The Guidelines are calculated

separately and then grouped.

       Similarly, here, Defendant committed two separate crimes—failure to intervene and

deliberate indifference—over the course of minutes. While generally Defendant’s conduct

can be described as a single course of conduct, his separate civil rights violations—failing

to stop or attempt to stop Chauvin from using excessive force and failing to provide Mr.

Floyd with obviously needed medical care—constitute two crimes with different elements.

These crimes apply the same Guideline, Section 2H1.1, but are assigned different base

offense levels within that Guideline and then grouped.

       Nothing about this calculation is irrational, as suggested by Defendant. The use of

two different cross-references in the PSR for the two different offenses alleged in Counts

2 and 3 comports with logic. The crime of violating a victim’s civil rights through

deliberate indifference does not require any excessive use of force, and therefore does not

require a cross-reference to the Guideline that applies to a use of force. The crime of

violating a victim’s civil rights through a failure to intervene does require a use of force,

and therefore invokes the more serious cross reference. The fact that the base offense level

is higher for failure to intervene is appropriate and provides a necessary distinction for

defendants like codefendant Lane, who was charged only with, and convicted only of, the

deliberate indifference violation charged in Count 3.

       For these reasons, the base offense level in this case is properly determined to be

level 38.



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          B. A Mitigating/Minor Role Adjustment Should Not Be Applied.

       The mitigating role adjustment applies to “a defendant who plays a part in

committing the offense that makes him substantially less culpable than the average

participant in the criminal activity.” U.S.S.G. § 3B1.2 cmt. n.3(A). “[M]erely showing

the defendant was less culpable than other participants is not enough to entitle the

defendant to the adjustment if the defendant was deeply involved in the offense.” United

States v. Jones, 25 F.4th 1077, 1079 (8th Cir. 2022) (quoting United States v. Cubillos, 474

F.3d 1114, 1120 (8th Cir. 2007)).

       While the Government views Defendant as less culpable than codefendant Chauvin

(and is recommending a sentence lower than Chauvin’s to reflect their relative

culpability), 3 and acknowledges Chauvin had recently been one of Defendant’s field

training officers, Defendant does not qualify for the adjustment because he was deeply

involved in the offense. Defendant participated in holding down Mr. Floyd for more than

eight minutes as Mr. Floyd was killed. He directed a helpful firefighter away from Mr.

Floyd and rebuffed Lane’s questions about whether Mr. Floyd should be rolled on his side.

He personally assessed that Mr. Floyd did not have a pulse, and then did nothing about it.

       Defendant is also not substantially less culpable than the average participant in the

failure to intervene and deliberate indifference crimes. Defendant and Thao were both

charged with failure to intervene and were independently and equally required to intervene

in Chauvin’s use of excessive force. Similarly, all four defendants independently and


3
  The Government believes that on different bases, the Court should order comparable
sentences for Defendant and codefendant Thao.
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equally had a duty to render aid to Mr. Floyd, who died in their joint custody. According

to the expert medical testimony at trial: (1) Mr. Floyd would not have died without

Chauvin’s restraint; and (2) had any one of the defendants repositioned Mr. Floyd onto his

side when he was still conscious, Mr. Floyd would have lived. Had any defendant

performed CPR during the initial minutes after Mr. Floyd lost a pulse, it may also have

saved his life. Defendant is not substantially less culpable than Thao for his failure to

intervene, nor is he substantially less culpable for his failure to render medical aid than the

other defendants. Defendant was as well-placed as the others to intervene and render aid

and had as much responsibility to do so.

       For all of these reasons, Defendant should not receive a 3- or 4-level decrease for

being a minimal or minor participant in the offense.

          C. The Enhancement for Committing the Offense Under Color of Law Does
             Not Result in Improper Double Counting and Should Be Applied.

       Section 242 caselaw makes clear that Defendant’s acting under color of law is not

accounted for in his base offense level. The base offense Guideline, § 2H1.1(a), applies

both to offenses committed under color of law and offenses such as hate crimes, where the

defendant acts in a private capacity. See § 2H1.1 Stat. Provisions (including § 242 and

federal hate crime statutes 18 U.S.C. §§ 245(b), 247, 249 & 42 U.S.C. § 3631, among the

statutes that correspond to this guideline). Similarly, the Guideline for the underlying

offenses (Second Degree Murder for Count 2 and Involuntary Manslaughter for Count 3)

applies equally to homicides not committed under color of law. Thus, the aggravating

factor of the defendant’s abuse of his official authority is not accounted for in the base


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offense levels. The abuse of authority does not enhance the sentence until the offense level

is adjusted under § 2H1.1(b)(1). See United States v. Volpe, 224 F.3d 72, 77 (2d Cir. 2000)

(no double counting when the guideline calculations for an officer convicted of an 18

U.S.C. § 242 violation included both an adjustment under § 2H1.1(b)(1)(B) because the

defendant acted under color of law and § 2A3.1(b)(3)(A) because the victim was in the

custody, care, or control of the defendant); United States v. Hickman, 766 F. App’x 240,

250-51 (6th Cir. 2019) (affirming the sentence in a § 242 deliberate indifference and

excessive force prosecution and holding that there was no double counting where the

defendant received a color-of-law adjustment under § 2H1.1(b)(1) because without it, his

base offense level would not reflect that he had acted under color of law); see also United

States v. Webb, 214 F.3d 962, 965 (8th Cir. 2000) (no double counting when the Guidelines

calculations for an officer convicted of an 18 U.S.C. § 242 violation included a color of

law adjustment under § 2H1.1(b)(1)(B) because the § 2H1.1 adjustment can be

independently justified on the basis that the defendant-officer was a public official at the

time of the offense).

       The 6-level enhancement should be applied.

          D. The Enhancement for Obstruction Should Be Applied.

       The PSR does not include a 2-level increase for obstructing or impeding the

administration of justice pursuant to U.S.S.G. § 3C1.1. See PSR ¶¶ 45, 57, 63. The United

States objects.

       Pursuant to U.S.S.G. § 3C1.1, a 2-level enhancement is applied if the defendant

willfully obstructed or impeded, or attempted to obstruct or impede, the administration of

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justice with respect to the prosecution or sentencing of the instant offense of conviction.

Application Note 4 to U.S.S.G. § 3C1.1 sets forth examples of conduct that trigger the

enhancement, which include committing perjury.

       “A witness commits perjury when he testifies falsely under oath about a material

matter with a willful intent to deceive the fact finder.” United States v. Molina, 172 F.3d

1048, 1058 (8th Cir. 1999). “Committing perjury at trial constitutes an obstruction of

justice within the meaning of § 3C1.1.” United States v. Flores, 362 F.3d 1030, 1037 (8th

Cir. 2004). The enhancement cannot be imposed by a district court “simply because a

defendant testifies on his own behalf and the jury disbelieves him.” Id. (quoting United

States v. Washington, 318 F.3d 845, 861 (8th Cir.2003)). “[T]he sentencing court must

itself conduct an independent evaluation and determine whether the defendant committed

perjury.” Id.

       As the Court is aware, Defendant took the stand and testified at trial. Some of

Defendant’s testimony directly and obviously conflicted with other, irrefutable evidence

presented at trial, and some of his testimony on cross examination conflicted with his

testimony on direct or redirect examination. Defendant’s false testimony was material to

the elements the United States was required to prove and it was willful, in that it was clearly

meant to undermine state-of-mind elements the Government was required to prove. For

example:

   • At trial, the Government had the burden of proving, as to Count 3, that Defendant
     actually knew Mr. Floyd had a serious medical need. See ECF No. 278 at 25-26.
     Remarkably, despite video evidence showing that Lane observed out loud that Mr.
     Floyd had lost consciousness and that Defendant himself reported he could not find
     Mr. Floyd’s pulse, Defendant perjured himself and said he did not know Mr. Floyd
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   was suffering from a serious medical need until defendant Lane came back from the
   ambulance. TT 3494-3495, 3571.

   On cross examination, Defendant stated he suspected Mr. Floyd could be suffering
   from excited delirium, which he knew from his training was a potentially dangerous
   medical problem, that Mr. Floyd was saying he could not breathe, that Mr. Floyd’s
   speech was slowing, that Mr. Floyd completely stopped talking, that he heard Lane
   say Mr. Floyd was passing out and that Mr. Floyd “slipped into unconsciousness,”
   and that he couldn’t find a pulse. TT 3571-74.

   Defendant also testified he heard Mr. Floyd say he couldn’t breathe more times in
   the squad vehicle than when Mr. Floyd was restrained on the ground (TT 3572)—
   even though Mr. Floyd said he couldn’t breathe five times in the squad, but more
   than twenty times on the ground. This testimony, along with his testimony
   regarding his lack of knowledge that Mr. Floyd could not breathe, constitute perjury
   that was intended to obstruct by trying to convince the jury that he did not have
   knowledge of Mr. Floyd’s serious medical need.

• At trial, the Government had the burden of proving, as to Count 3, that Defendant
  disregarded Mr. Floyd’s medical need by failing to take reasonable measures to
  address it. See ECF No. 278 at 26. Defendant attempted to convince the jury that
  the continued restraint of Mr. Floyd over the course of nine and a half minutes was
  reasonable, in part, because of a belief that Mr. Floyd may be suffering from excited
  delirium, which at times requires restraint for a subject’s safety. Defendant testified
  that one of the reasons he believed Mr. Floyd may be suffering from excited
  delirium was because Mr. Floyd demonstrated an attraction to glass, one of the
  symptoms of excited delirium. As evidence, Defendant pointed to Mr. Floyd twice
  hitting his face against the plexiglass in the back seat of the squad vehicle. TT 3465-
  66, 3537-38. Defendant’s testimony contradicts the video evidence, which makes
  very clear: (1) Mr. Floyd did not want to be anywhere near the plexiglass in the back
  of the squad vehicle; and (2) Mr. Floyd did not demonstrate an attraction to any of
  the other, much larger, sheets of glass throughout the incident. When asked on cross
  examination, “And we all know he didn’t want to get in the vehicle, right?”
  Defendant himself admitted, “Very much not, ma’am.” TT 3541.

   Similarly, Defendant testified he suspected excited delirium because Mr. Floyd
   exhibited another symptom, that Mr. Floyd was not “registering pain.” TT 3465-
   66. According to Defendant, while walking Mr. Floyd across the street to the squad
   vehicle, Mr. Floyd did not respond to pain from an escort hold he employed on Mr.
   Floyd’s wrist, even when Mr. Floyd dropped to the ground, which would have
   “activate[d]” the wrist lock. Id. Again, this contradicts the video evidence presented
   at trial, which showed Mr. Floyd repeatedly complaining of pain to his wrists, as
   well as to other parts of his body, including his neck, face, and knee. See Gov’t Ex.
   7A at 7, 8, 9, 10, 11, 13, 14, 17, 18, 19. On the one occasion that Mr. Floyd appeared
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   to stumble and get closer to the ground while being escorted to the squad car, he did
   express pain. See Gov’t Exs. 7 at 20:14:43, 7A at 8. Defendant’s testimony that, at
   the time, he considered these to be potential signs of excited delirium, was in fact
   an attempt to, in hindsight, justify his lack of a reasonable response to Mr. Floyd’s
   medical needs.

• As previously noted, the Government had to prove beyond a reasonable doubt that
  Defendant actually knew Mr. Floyd had a serious medical need, and the
  Government demonstrated Defendant’s knowledge, in part, by showing that
  Defendant could hear the descriptions of Mr. Floyd’s medical condition that were
  verbally provided by bystanders to the killing. Defendant testified, “My recollection
  is I had a lot of kind of difficulty hearings things, a lot of difficulty kind of seeing
  the big picture. I had a lot of tunnel vision going on. . . . My understanding is that’s
  pretty normal in high stress situations, something you get called auditory exclusion
  and then tunnel vision, as I mentioned.” TT 3469.

   The video evidence presented in the case demonstrates that Defendant could hear
   the bystanders. First, the bystanders’ pleas are clearly audible on Defendant’s body
   worn camera footage. See Gov’t Ex. 7. Additionally, when firefighter G.H. arrived
   on the scene and she and bystander D.W. began pleading for the officers to check
   Mr. Floyd’s pulse, Defendant immediately checked for Mr. Floyd’s pulse,
   indicating that he heard them. But he testified on direct examination he could “never
   make out what [the voices] were saying,” and when asked on cross examination
   whether he could hear the words of the bystanders, he responded, “I heard some
   expletives.” Id. at 3476, 3584. This testimony is not credible, but it is both material
   and another attempt by Defendant to justify to the jury his lack of a response to Mr.
   Floyd’s serious medical needs.

• Defendant testified that after Mr. Floyd stopped struggling on the ground, his “only
  concern was that his situation could deteriorate and that if the paramedics showed
  up they’d want to treat him quickly, so we wanted to give them quick access.” TT
  3493-95. This testimony was also a lie. The video evidence shows Defendant did
  nothing to provide the paramedics with quick access to treat Mr. Floyd quickly—
  when paramedics arrived, Mr. Floyd was, as known to Defendant, unconscious and
  handcuffed in the prone position with a knee on his neck. Defendant did not even
  move out of the way after paramedics arrived and impeded paramedics from getting
  Mr. Floyd onto the stretcher quickly—he had to be told to get out of the way. See
  TT 3574-75. And none of the defendants, including Kueng, informed the
  paramedics of the type or duration of force employed on Mr. Floyd, as they are
  required to do by MPD policy. Defendant’s statement regarding his “only concern”
  for treatment of Mr. Floyd is undermined by his actions.



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          For all these reasons, the Government believes that a 2-level increase for obstruction

of justice, pursuant to Section 3C1.1, should be applied in this case.

    II.      The Section 3553(a) Factors Support a Sentence Within the Range
             Recommended by the Government.

             A. History and Characteristics of Defendant.

          Section 3553(a)(1) states that a sentencing court must first consider “the history and

characteristics of the defendant.” Unlike many individuals who appear before this Court

for sentencing, Defendant lived what many would view as a life of considerable stability

and opportunity. PSR ¶¶ 78, 81-82, 91-95.

          Any    further   significant   downward     variance    below    the   Government’s

recommendation based on the history and characteristics of Defendant would be

unwarranted. While Defendant served as a police officer for a short period of time, he

testified about his lengthy training as a police officer and his understanding about concepts

that are core to this case: “in your custody, in your care,” the sanctity of life, positional

asphyxia, and proportional force. 4       He acknowledged having used the side recovery

position on subjects in his custody in the past. Defendant’s most striking characteristic is

that he was a recently trained and knowledgeable, CPR- and EMR-certified police officer,

who was sworn to protect and serve people. He knew right from wrong. But Defendant




4
  Defendant objects to the summary of his training as set forth in the PSR because it does
not differentiate the training received by each of the defendants. ECF No. 365 at 1
(referencing PSR ¶ 12). However, Defendant does not identify a single aspect of the
summarized training that he did not receive.
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chose to do the wrong thing. He has expressed no remorse for his actions and inaction,

even though Mr. Floyd died as a result.

       Numerous courts have held that crimes committed by law enforcement officers are

ones that courts should treat more seriously, not less seriously, than other types of criminal

acts. See United States v. Thames, 214 F.3d 608, 614 (5th Cir. 2000) (“A defendant’s status

as a law enforcement officer is often times more akin to an aggravating as opposed to a

mitigating sentencing factor, as criminal conduct by a police officer constitutes an abuse

of a public position.”).

       In this case, Defendant’s position as an officer not only aggravated the crime but

made it possible. If he and his fellow defendants had been private citizens, they would

have lacked the authority to hold back civilian bystanders desperate to step in to provide

the assistance Mr. Floyd so direly needed.

           B. The Nature and Seriousness of the Offense.

       The second factor a sentencing court must consider is “the need for the sentence

imposed — to reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment.” 18 U.S.C. § 3553(a)(2)(A). This requirement extends beyond,

but also overlaps to some extent with, the “nature and circumstances of the offense”

component of Section 3553(a)(1). The Section 3553(a)(2)(A) consideration carries the

need to make the punishment fit the crime, and the need not just to punish, but to punish

justly. “[I]t is another way of saying that the sentence should reflect the gravity of the

defendant’s conduct.” Committee on the Judiciary, Report No. 98-225, 98 Cong. 1st Sess.

1983, p. 75.
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       Few crimes are more serious than the crime Chauvin committed—the murder of an

individual by an agent of the state. The severity and unlawfulness of Chauvin’s conduct

was never seriously questioned; Defendant’s own expert witness on the use of force and

medical aid as it pertains to police officers, Steve Ijames, testified that the obviousness of

Chauvin’s unreasonable force was obvious “beyond question”—that he had never seen

anything like it. TT 3676-77. Yet for more than nine minutes, Defendant, who admitted

during his testimony that he saw Chauvin’s knee on Mr. Floyd’s neck (TT 3474, 3543-44),

crouched shoulder-to shoulder with Chauvin, while the collective pressure 5 applied by the

two officers slowly killed a person suspected of passing a $20 counterfeit bill.

       Defendant knew, from his own observations and the observations of the bystanders

and codefendant Lane, that Mr. Floyd was having trouble breathing, that Mr. Floyd then

stopped talking and moving, and lost consciousness. As noted by Dr. Systrom, Defendant

had a front row seat to, and physical contact with, Mr. Floyd as he deteriorated. See TT

1771. Each of these points of deterioration was specifically called out by the bystanders

to the crime—including several teenagers, a sixty-one-year-old man, and an off-duty

Minneapolis firefighter, all of whom repeatedly begged the officers to get off Mr. Floyd or

to check his pulse.6


5
  As noted by Dr. David Systrom, a pulmonologist and critical care physician who testified
as an expert at trial, the pressure Defendant applied to Mr. Floyd’s left wrist, which had
the effect of pressing Mr. Floyd’s forearm into his back and diaphragm, contributed to Mr.
Floyd’s inability to breathe.

6
  Defendant objects to the portion of the PSR indicating that the defendants did not allow
the firefighter to approach to evaluate or treat Mr. Floyd because only Thao engaged in that
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       During the restraint, Mr. Floyd repeatedly expressed pain and his inability to

breathe; while on the ground, he told the officers more than twenty times that he could not

breathe. During one of those pleas, Chauvin joked with Defendant that Mr. Floyd’s

vocalization “takes a heck of a lot of oxygen,” and Defendant laughed in response.

Defendant admitted during cross examination that the fact that Mr. Floyd stopped talking

was a “red flag” to “reassess for,” but that he didn’t change anything he was doing with

respect to Mr. Floyd. TT 3526.

       Defendant rebuffed and then ignored codefendant Lane’s questions about whether

the defendants should perform the appropriate medical care—rolling Mr. Floyd onto his

side. 7 Defendant himself twice checked for and reported to Chauvin and Lane that he could

not locate Mr. Floyd’s pulse, a recognizable emergency to anyone, with or without any

medical training.

       Part of the severity of this crime lies in two factors: (1) the unnecessariness of the

conduct; (2) and the ease with which Mr. Floyd’s death could have been avoided. No

witness was able to explain why an unconscious and then pulseless person required the

type of restraint employed by (and/or allowed by) the defendants in this case, let alone any




conduct. ECF No. 354 at 3. This is incorrect. Each of the defendants, including Defendant
Kueng, individually ordered this witness onto the curb and away from Mr. Floyd. See
Gov’t Ex. 7A at 23.
7
  Defendant objects to the PSR’s recitation of this evidence, arguing that his comments
“are not clearly audible.” However, his comments are clearly audible on his body worn
camera footage, as reflected in the transcript stipulated to by Defendant himself. See Gov’t
Ex. 7A at 21.

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restraint at all. And it was fully within Defendant’s duties and power to cure both of these

problems, to intervene to stop Chauvin’s excessive force and to provide simple medical

care that would have saved Mr. Floyd’s life. 8 Defendant was not forced to make any split-

second, life-or-death decisions. The fact that Chauvin’s conduct was so egregious and the

ease with which Defendant could have saved a human life in his custody, make Defendant’s

crimes of failing to act even more serious. The worldwide attention to the case was in part

because Chauvin’s conduct was so shocking, and in part because it was so shocking that

the other officers stood by and did nothing, while preventing the civilian witnesses from

intervening to save Mr. Floyd’s life.

       The seriousness of Defendant’s crime is compounded by his actions after

paramedics removed Mr. Floyd from the scene. During his interviews with Sergeant

Pleoger and Lieutenant Zimmerman, Defendant did not report that Chauvin had restrained

Mr. Floyd by grinding his knee into Mr. Floyd’s neck; that Mr. Floyd had been held in the

prone position for nearly nine and a half minutes; that Mr. Floyd had repeatedly complained

he couldn’t breathe; that Mr. Floyd had stopped talking and moving entirely; that Mr. Floyd

had fallen unconscious; and that the officers had known for several minutes that Mr. Floyd

did not have a pulse.9 Defendant admitted during his testimony that his report to Sergeant


8
  Expert witness and emergency room and medical toxicology physician Dr. Vikhyat
Bebarta testified that Mr. Floyd would not have died if he had been rolled onto his side
before he was rendered unconscious, and that the best chance at saving Mr. Floyd after he
lost consciousness would have been for the defendants to perform CPR.
9
  Defendant objects to the PSR’s characterization of this interview, arguing that the
defendants’ statements to Sergeant Pleoger “complied with the scope of information
required in the MPD policy” and that the fact that Lieutenant Zimmerman even interviewed
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Pleoger was not true in that he told Sergeant Pleoger that Mr. Floyd stopped moving after

EMS arrived. TT 3596-97.

         Defendant’s crimes are also serious because they undoubtedly undermine public

trust in other law enforcement officers. As stated by one court, civil rights crimes

committed by law enforcement officers are severe by their very nature:

               Our system works well with murders, rapes, robberies, and
               most other crimes. When someone kills or rapes, the criminal
               justice system knows how to take care of the crime. When a
               law enforcement officer commits a crime, however, the system
               has failed, because the very people whom we have entrusted to
               protect the citizenship from crime are subjecting citizens to
               crime. A law enforcement officer’s violation of the law is not
               comparable to an ordinary criminal’s violation. Civil rights
               crimes go to the core of our system and endanger the entire
               structure of our government and are a threat to the republic, not
               just one or two violations.

United States v. Rodella, No. CR 14-2783 JB, 2015 WL 711941, at *50 (D.N.M. Feb. 5,

2015).

         Mr. Floyd paid the ultimate price for Defendant’s crime—his life. He died a slow

and agonizing death. His family and loved ones will never get him back and will carry the

horror of what happened to Mr. Floyd with them for the rest of their lives. The punishment

must fit the crime. Defendant’s crimes demand a lengthy term of imprisonment.




Kueng and Lane was in violation of MPD policy. ECF No. 354 at 3. These arguments are
contradicted by the laundry list of omitted detail regarding the force used on Mr. Floyd and
the MPD policy regarding truthfulness that prohibits omissions of pertinent information.
Further, it was never established at trial that Lieutenant Zimmerman’s interview of Kueng
and Lane violated MPD policy.
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          C. The Need for Deterrence.

       Section 3553(a)(2)(B) instructs that a criminal sentence needs “to afford adequate

deterrence to criminal conduct.” A criminal sentence should take into account specific

deterrence with respect to the particular defendant and general deterrence with respect to

potential future criminals. See United States v. Peterson, 887 F.3d 343, 349 (8th Cir. 2018).

As it is unlikely Defendant will serve as a law enforcement officer in the future, the need

for specific deterrence is less at issue here than the need for general deterrence.

       But more importantly, the Court is in a position to send a strong message to law

enforcement officers who would allow their colleagues and partners to engage in civil

rights violations that have monumental consequences. See United States v. Carpenter, 576

F. App’x 610, 614 (7th Cir. 2014) (upholding sentence for police officer in part because of

the need to “deter similar derelictions of duty and promote respect for the law” in a troubled

metropolitan community); United States v. Boone, 110 F. Supp. 3d 909, 919 (S.D. Iowa

2015) (noting general deterrence was “particularly important” in an excessive force case

because such sentence “will make explicit that the excessive use of force by law

enforcement is a serious civil rights violation that simply will not be tolerated”); United

States v. Hooper, 566 F. App’x 771, 773 (11th Cir. 2014) (finding a probationary sentence

for excessive force substantively unreasonable in part because “the court expressly

declined to consider the need for [defendant]’s sentence to adequately deter other police

officers from using excessive force”).




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          D. Avoidance of Unwarranted Disparities.

       Section 3553(a)(6) notes that a sentencing court must address “the need to avoid

unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct.” Section 242 sentences involving officers’ failures to

intervene or deliberate indifference are driven by the specific facts of each case and do not

always yield ready comparisons.

       In the most similar case to Defendant’s, a law enforcement officer stood by and

watched while other officers kicked a handcuffed suspect in the head and upper body and

punched him in the face, ultimately resulting in the suspect’s death. Pagan-Ferrer, 736

F.3d 573. Following convictions at trial for failing to intervene, making false statements,

and engaging in obstruction, the officer was sentenced to 360 months’ imprisonment. The

officer’s sentence is appropriately higher than the sentence the Government seeks for

Defendant because that officer was the supervisor of the officers who engaged in the

excessive force.

       Other cases for comparison involve a failure to intervene where the excessive force

resulted in bodily injury only; Defendant’s sentence should not come close to the shorter

sentences in those cases because death resulted here. For example, in related cases United

States v. Broussard, 882 F.3d 104 (5th Cir. 2018) and United States v. Hatley, 717 F. App’x

457 (5th Cir. 2018), two corrections officers failed to intervene when other officers beat,

kicked, and punched an inmate for about ten minutes. Following guilty pleas, Broussard

was sentenced to 54 months’ imprisonment, and Hatley was sentenced to 36 months’

imprisonment. The Fifth Circuit upheld the sentences, emphasizing in Broussard that the
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officer was criminally liable for the underlying excessive force—in that case, the

aggravated assault—and that he was not a minor participant simply because his crime was

one of omission. Similarly, in United States v. Daniels, 281 F.3d 168 (5th Cir. 2002), an

officer who failed to intervene when fellow officers kicked, punched, and struck a

restrained inmate in the head, resulting in the inmate’s bodily injury, was sentenced to 87

months’ imprisonment.

        A recent excessive force case in this District is also instructive. In United States v.

Palkowitsch, -- F.4th --, 2022 WL 2080162 (8th Cir. Jun. 10, 2022), a law enforcement

officer was sentenced to 72 months’ imprisonment after he was convicted at trial of

violating 18 U.S.C. § 242 for kicking a man three times as the man was being bitten and

held by a police canine. The man sustained serious injuries.

        Because the jury concluded that Defendant’s crimes resulted in Mr. Floyd’s death,

Defendant’s sentence should not be anywhere near as low as any of these sentences—54,

36, 72, or 87 months of imprisonment—where the crime resulted solely in bodily injury.

Considering the Section 3553(a) factors, his conduct is more in line with the Pagan-Ferrer

case.

                                      CONCLUSION

        The United States respectfully submits that a sentence significantly higher than

codefendant Lane’s Guidelines range of 63-78 month’s imprisonment but less than

Chauvin’s agreed upon sentencing range of 240 to 300 months’ imprisonment is sufficient,




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but not greater than necessary, after consideration of all of the relevant sentencing factors

set forth in 18 U.S.C. § 3553(a). This would be a fair and just sentence.



Dated: June 29, 2022                         Respectfully submitted,

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